      Case: 1:22-cv-01848-DAR Doc #: 81 Filed: 09/27/24 1 of 16. PageID #: 653




                                  UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION


       RANAE M. ULRICH, pro se,                               )   CASE NO. 1:22-cv-01848
                                                              )
                Plaintiff,                                    )   JUDGE DAVID A. RUIZ
                                                              )
                          v.                                  )
                                                              )
       FORD MOTOR COMPANY, et al.,                            )
                                                              )   ORDER OF DISMISSAL
                Defendants.                                   )


                This matter is before the Court on two separate Motions to Dismiss Plaintiff’s Amended

       Complaint, one filed by Defendant Paul Donovan (R. 38) and the other by all other Defendants

       in this action (R. 37). Defendants’ Motions to Dismiss, (R. 37; R. 38), have been fully briefed

       and are ripe for the Court’s review (R. 47; R. 58; R. 60).1 For the following reasons, both

       Motions are GRANTED and this action is dismissed for failure to state any actionable claims.

                                          I. Factual and Procedural Background

                Plaintiff RaNae Ulrich, appearing pro se, filed an Amended Complaint that is difficult to

       comprehend and espouses numerous illogical, incoherent conspiracy theories unrelated to her

       employment claims. The Court, however, construes the allegations in the light most favorable to



1
  During the briefing of the Motions, Plaintiff made a litany of other filings, including multiple motions to strike, (R.
42; R. 44; R. 46), a motion to compel “Civil Gideon” appointment, (R. 43), a motion for deposition, (R. 45), a
motion to compel the Ohio Attorney General’s intervention, (R. 49), and a motion for discovery, (R. 51). Defendants
filed a motion to stay discovery pending the Court’s ruling on the Motions to Dismiss. (R. 57). Plaintiff has
continued to file motions while Defendants’ Motions to Dismiss remained pending, including a motion to compel
discovery, a motion to file an amended complaint without the proposed amended pleading, a motion to strike
Defendants’ response to her motion, and a motion for reconsideration. (R. 62; R. 67; R. 73; R. 76).
Case: 1:22-cv-01848-DAR Doc #: 81 Filed: 09/27/24 2 of 16. PageID #: 654




Plaintiff and gleans the following relevant allegations.

       Plaintiff is a resident of Ohio of German, Italian, and Cherokee Native American descent

who worked for Defendant Ford Motor Company (Ford) for more than twenty years. (R. 4,

PageID# 46, ¶¶ 18–21). Plaintiff alleges that during her employment, she experienced

discrimination because of her sex and race at the hands of the company and several of its

employees. (See, e.g., id. at PageID# 49–50, ¶¶ 39, 41). She references obtaining a psychiatric

living will in 2019 and alleges the hostile work environment culminated in a meeting on March

22, 2021, in which she was involuntarily hospitalized. (Id. at PageID# 47-48, 55 ¶¶ 26-27, 31,

70). On that date, following a meeting with Labor Relations and her union in which Plaintiff

made multiple incoherent statements, (Id. at PageID# 56–57, ¶¶ 70–78), she was sent to the

medical department and paramedics were called. (Id. at PageID# 58–59, ¶¶ 84–97). Plaintiff then

voluntarily, albeit reluctantly, chose to go with the paramedics to Southwest General Hospital,

where she was allegedly medically incarcerated. (Id. at PageID# 61–62, ¶¶ 103–108). Plaintiff

alleges that while on medical leave following this incident, Ford unlawfully terminated her on

July 13, 2021. (Id. PageID# 68, ¶ 137).

       Plaintiff’s Amended Complaint attempts to allege claims against Defendant Ford and

certain employees, including Defendants John Santana, Ralph Johnson, Paul Donovan, Michael

Stallard, James D. Farley, Jr., Jacqueline Wilson, Kelly Bennet, Jeremiah Hastings, and Mark

Porterfield (collectively, with Ford, Defendants).2 Plaintiff asserts the following claims against

all Defendants: (i) discrimination on the basis of Plaintiff’s race/ethnicity in violation of 42

U.S.C. § 1981, (ii) unlawful retaliation in violation of 42 U.S.C. § 1981, and (iii) deprivation of


2
  All Defendants are represented by the same counsel, except for Defendant Donovan who
retained separate counsel.


                                                  2
Case: 1:22-cv-01848-DAR Doc #: 81 Filed: 09/27/24 3 of 16. PageID #: 655




rights in violation of 42 U.S.C. § 1983. (Id. at PageID# 76–80, ¶¶ 179–197). Against only

Defendant Ford, Plaintiff asserts claims of national origin discrimination and unlawful retaliation

in violation of Title VII of the Civil Rights Act of 1964 as well as violations of “international

humanitarian law” pursuant to 22 U.S.C. § 8213. (Id. at PageID# 74–76, 80–82 ¶¶ 166–178,

198–202). Throughout the Amended Complaint, Plaintiff includes illogical, often incoherent

conspiracy theories and references violations of 18 U.S.C. § 1091 and Ohio Revised Code §§

4731.34 and 4731.41. (Id. at PageID# 43, 52 ¶¶ 1, 52).

        Defendants moved to dismiss.

                                       II. Standard of Review

        A Rule 12(b)(6) motion to dismiss challenges whether a complaint adequately

sets forth a “short and plain statement of the claim showing that the pleader is entitled to

relief.” Ashcroft v. Iqbal, 556 U.S. 662, 677–78 (2009) (quoting Fed. R. Civ. P. 8(a)(2)).

To get past the pleading stage, “a complaint must contain sufficient factual matter,

accepted as true, to state a claim to relief that is plausible on its face.” Id. at 678

(quotation marks omitted). A claim is facially plausible “when the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged.” Id. This “plausibility standard is not akin to a ‘probability

requirement,’” but it demands “more than a sheer possibility that a defendant has acted

unlawfully.” Id. “Where a complaint pleads facts that are merely consistent with a

defendant's liability, it stops short of the line between possibility and plausibility of

entitlement to relief.” Id. (quotation marks omitted).

        A court resolving a Rule 12(b)(6) motion “must consider the complaint in its

entirety.” Tellabs, Inc. v. Makor Issues & Rts., Ltd., 551 U.S. 308, 322 (2007). In doing


                                                    3
Case: 1:22-cv-01848-DAR Doc #: 81 Filed: 09/27/24 4 of 16. PageID #: 656




so, a court must accept as true all the factual allegations contained in the complaint and

construe them in the light most favorable to the plaintiff. See Erickson v. Pardus, 551

U.S. 89, 93–94 (2007) (per curiam); accord Streater v. Cox, 336 F. App’x 470, 474 (6th

Cir. 2009). A court, however, need not accept as true conclusions of law, “labels and

conclusions,” “formulaic recitation[s] of the elements of a cause of action,” and “naked

assertions devoid of further factual enhancement,” though these “can provide the

framework of a complaint.” Iqbal, 556 U.S. at 678–79 (cleaned up). “When there are

well-pleaded factual allegations, a court should assume their veracity and then determine

whether they plausibly give rise to an entitlement to relief” under governing law. Id. at

679.

       Although pro se complaints are liberally construed and held to “less stringent standards

than formal pleadings drafted by lawyers,” Williams v. Curtin, 631 F.3d 380, 383 (6th Cir. 2011),

“the lenient treatment generally accorded to pro se litigants has limits,” Pilgrim v. Littlefield, 92

F.3d 413, 416 (6th Cir. 1996). Pro se plaintiffs must still meet basic pleading requirements, and

courts are not required to construct claims for them or conjure facts that were not pleaded. See

Brown v. Matauszak, 415 F. App’x 608, 613 (6th Cir. 2011) (“[A] court cannot create a claim

which [a plaintiff] has not spelled out in his pleading.” (second alteration in original) (internal

quotation marks omitted)); Payne v. Sec'y of Treasury, 73 F. App’x 836, 837 (6th Cir. 2003)

(affirming sua sponte dismissal and stating that “[n]either this court nor the district court is

required to create [plaintiff-appellant’s] claim for her”); Young Bok Song v. Gipson, 423 F.

App’x 506, 510 (6th Cir. 2011). Courts need not “ferret out the strongest cause of action on

behalf of pro se litigants” because such a duty would “be overly burdensome” and “transform the

courts from neutral arbiters of disputes into advocates for a particular party.” Young Bok Song,


                                                  4
Case: 1:22-cv-01848-DAR Doc #: 81 Filed: 09/27/24 5 of 16. PageID #: 657




423 F. App’x at 510. “While courts are properly charged with protecting the rights of all who

come before [them], that responsibility does not encompass advising litigants as to what legal

theories they should pursue.” Id.


                                         III. Discussion

       Plaintiff does not address Defendants’ substantive legal arguments in her response to

their Motions to Dismiss, choosing instead to expound upon unrelated topics and unsupported

theories. (See R. 47). Because Plaintiff failed to address Defendants’ arguments, she waived

opposition to Defendants’ motions. Johnson v. Apple, Inc., No. 3:13cv204, 2014 WL 4076148, at

*1 (S.D. Ohio Aug. 14, 2014) (“Based upon [the plaintiff]’s failure to address any of the

arguments advanced by [the defendant], it appears that he has waived opposition to [the

defendant’s] motion [to dismiss].”) (citing Weatherby v. Fed. Express, 454 F. App’x 480, 490

(6th Cir. 2012)), report & recommendation adopted, 2014 WL 7330737 (S.D. Ohio Sept. 8,

2014). Courts’ “authority to grant a motion to dismiss because it is unopposed is well

established” as failing to respond may be treated “as a confession to” the motion’s merit. Demsey

v. R.J. Reynolds Tobacco Co., No. 1:04cv1942, 2005 WL 1917934, at *2 (N.D. Ohio Aug. 10,

2005) (citing Cacevic v. City of Hazel Park, 226 F.3d 483, 492 (6th Cir. 2000)); see also Brown

v. Panther Premium Logistics, Inc., No. 1:17cv1383, 2017 WL 6502822, at *1 (N.D. Ohio Sept.

12, 2017) (“This Court may interpret the absence of a response to a motion to dismiss as a

waiver of opposition.” (citing Ray v. United States, Nos. 1:11cr115, 1:16cv141, 2017 WL

2350095, at *2 (E.D. Tenn. May 30, 2017); Humphrey v. U.S. Att’y Gen.’s Off., 279 Fed.Appx.

328, 331 (6th Cir. 2008))). Although Plaintiff’s lack of a meaningful response waives her

opposition to Defendants’ Motions, the Court nonetheless addresses the merits of Defendants’



                                                5
Case: 1:22-cv-01848-DAR Doc #: 81 Filed: 09/27/24 6 of 16. PageID #: 658




arguments.

                        A. Counts I and II Alleging Violations of Title VII

       Counts I and II of the Amended Complaint allege that Defendant Ford violated Title VII,

42 U.S.C. § 2000e-3(a), by discriminating and retaliating against Plaintiff. (R. 4, PageID# 74–79

¶¶ 166–178).

        “Title VII of the Civil Rights Act of 1964 makes it ‘an unlawful employment practice

for an employer ... to discriminate against any individual with respect to his compensation,

terms, conditions, or privileges of employment, because of such individual’s race, color, religion,

sex, or national origin.’” Harris v. Forklift Sys., Inc., 510 U.S. 17, 21 (1993) (quoting 42 U.S.C.

§ 2000e–2(a)(1)). To state a claim for violation of Title VII, Plaintiff must plead sufficient facts

to satisfy the plausibility standard. Walker v. Hennigan, No. 3:23cv559, 2023 WL 4405288, at *2

(N.D. Ohio July 7, 2023). A complaint need not present “detailed factual allegations,” but it must

allege sufficient “‘factual content’ from which a court, informed by its ‘judicial experience and

common sense,’ could ‘draw the reasonable inference’” that the defendant discriminated against

the plaintiff because of her race, color, sex, or national origin. Keys v. Humana, Inc., 684 F.3d

605, 610 (6th Cir. 2012) (quoting Iqbal, 556 U.S. at 678, 679, 129).

       Defendants argue that Plaintiff’s Amended Complaint fails to meet this standard. (See R.

37, PageID# 223). In Count I, Plaintiff claims that she was treated differently, harassed, and

subjected to a hostile work environment because of her national origin, which she reports as

German, Italian, and Native American. (R. 4, PageID# 74, ¶ 168). However, the Amended

Complaint does not allege facts showing that Plaintiff was treated differently from other

employees or discriminated against based on her national origin. (See generally id.) The closest

Plaintiff comes to making such an allegation is when she alleges that another employee who, like


                                                  6
Case: 1:22-cv-01848-DAR Doc #: 81 Filed: 09/27/24 7 of 16. PageID #: 659




Plaintiff, was terminated during medical leave was later reinstated while Plaintiff was not. (Id. at

PageID# 68, ¶139). Yet Plaintiff does not mention national origin when recounting this incident,

let alone allege any facts suggesting that she was treated differently from this other employee

based on her national origin. (See id.). Because Plaintiff has not alleged facts from which this

Court could draw the reasonable inference that Defendants discriminated against her based on

her national origin, she does not state a claim for discrimination based on national origin in

violation of Title VII. See Keys, 684 F.3d at 610. Therefore, Count I is dismissed.

       In Count II, Plaintiff alleges that Defendant Ford retaliated against her for making

complaints “about race, color, religion, sex, or national origin discrimination” in violation of

Title VII. (R. 4, PageID# 75–76, ¶¶ 173–78). To state a claim for retaliation in violation of Title

VII, a plaintiff must allege facts showing that “(1) she engaged in activity protected by Title

VII,” (2) the defendant knew about “this exercise of protected rights,” (3) the defendant

“thereafter took adverse employment action against the plaintiff,” and (4) a causal connection

existed “between the protected activity and the adverse employment action.” Sharma v. Ohio

State Univ., 25 F. App’x 243, 248 (6th Cir. 2001).

       Plaintiff’s Amended Complaint alleges that Defendant Ford violated the anti-retaliation

provisions of Title VII by “placing her involuntarily into a mental institution and escalating their

discriminatory treatment against her.” (R. 4, PageID# 76, ¶ 176). Considering that Plaintiff is pro

se, the Court liberally construes the pleading requirements and interprets Plaintiff’s allegations of

“escalated discriminatory treatment,” id., as referring to her subsequent termination. See

Williams, 631 F.3d at 383 (supporting the liberal construction of pro se pleadings). Nevertheless,

Plaintiff has not sufficiently alleged facts to plausibly plead that her employment was terminated

because she reported harassment and discrimination. Plaintiff’s Amended Complaint notes


                                                 7
Case: 1:22-cv-01848-DAR Doc #: 81 Filed: 09/27/24 8 of 16. PageID #: 660




several instances in which Plaintiff reported discrimination and harassment to union officials.

(Id. at PageID# 47, 61, ¶¶ 24, 45, 47, 60). However, Plaintiff does not allege that her employer or

any company decisionmaker involved in terminating her employment was aware of these

complaints, as required. See Sharma, 25 F. App’x at 248; cf. Fenton v. HiSAN, Inc., 174 F.3d

827, 832 (6th Cir. 1999) (affirming summary judgment where the plaintiff was unable to produce

evidence sufficient to establish the individuals taking the adverse action knew of the protected

activity).

        Plaintiff also fails to allege facts showing causation. To establish causation when alleging

retaliation, a Title VII plaintiff must show that her “protected activity was a but-for cause of the

alleged adverse action by the employer.” Univ. of Tex. Sw. Med. Ctr. v. Nassar, 570 U.S. 338,

363 (2013). Defendant contends, and Plaintiff’s Amended Complaint supports, that Plaintiff was

terminated when she did not return to work at the end of her approved medical leave—not

because she reported discrimination and harassment. (See R. 4, PageID# 68, ¶¶ 137, 138; R. 37).

Further, the timing of Plaintiff’s reports alone cannot indicate a causal connection between

Plaintiff reporting discrimination and harassment and her termination. Plaintiff allegedly

complained of discrimination between 2015 and 2017, in October 2019, and in February 2021,

but she was terminated in July 2021, five months after the most recent complaint and years after

earlier complaints. (Id. at PageID# 47, 51, 54, 61, ¶¶ 26, 45, 47, 60, 137, 138). Plaintiff alleges

no other facts related to causation. (See generally id.) Even if the temporal gap between

Plaintiff’s reports and termination were shorter, such a gap alone cannot “support a causal

inference” in these circumstances. See Kean v. IT-Works, Inc., 466 F. App’x 468, 471 (6th Cir.

2012) (noting that although “there may be some circumstances where evidence of temporal

proximity alone would be sufficient to support an inference of causation,” those circumstances


                                                  8
Case: 1:22-cv-01848-DAR Doc #: 81 Filed: 09/27/24 9 of 16. PageID #: 661




did not exist when there was a two-and-a-half-month gap between a complaint and alleged

retaliatory conduct or when there was a one-month gap between a complaint and alleged

retaliatory conduct).

        Because Plaintiff has not alleged facts showing that Defendant Ford was aware of her

complaints before she was terminated or that a causal connection existed between her complaints

and her termination, Plaintiff fails to state her claim for retaliation in violation of Title VII.

Therefore, Count II is dismissed.

      B. Counts III and IV Alleging Violations of 42 U.S.C. § 1981 against all Defendants

        Counts III and IV of the Amended Complaint allege race/ethnicity discrimination and

retaliation in violation of 42 U.S.C. § 1981 against all Defendants. (R. 4, PageID# 76–79, ¶¶

179–191).

        1. Count III Fails to State a Claim

        That 42 U.S.C. § 1981 extends to discrimination based on ethnicity in addition to

discrimination based on race is well established. See Saint Francis Coll. v. Al-Khazraji, 481 U.S.

604, 613 (1987). To state a claim for race or ethnicity discrimination in violation of section 1981,

a plaintiff must allege facts showing “that, but for race [or ethnicity], [she] would not have

suffered the loss of a legally protected right.” Comcast v. Nat’l Ass’n of Afr. Am.-Owned Media,

589 U.S. 327, 341 (2020).

        As discussed above with respect to Count I, Plaintiff has failed to meet the required

pleading standard to state a claim for discrimination in violation of Title VII. In Comcast, the

United States Supreme Court held that the standard for pleading Title VII discrimination claims

was less stringent than the standard for pleading section 1981 discrimination claims. See 589

U.S. at 336–41. Thus, with respect to Defendant Ford, for the same reasons Plaintiff fails to state


                                                   9
Case: 1:22-cv-01848-DAR Doc #: 81 Filed: 09/27/24 10 of 16. PageID #: 662




 a claim for Title VII discrimination, she fails to meet the more stringent standard to state a claim

 for section 1981 discrimination. Like with her Title VII claim, here, Plaintiff alleges no facts

 showing that Defendant Ford terminated her because of her race or ethnicity, let alone that she

 would not have been terminated but for her race or ethnicity. (See generally R. 4). Thus, Plaintiff

 fails to state this claim against Defendant Ford.

        Regarding the other Defendants in this case, Plaintiff’s claims also fail. Although

 Plaintiff occasionally alleges that one of the defendants mistreated her, she does not allege facts

 showing that but for her race or ethnicity, she would not have been treated as such. The

 Amended Complaint presents nothing more than “unadorned, the-defendant-unlawfully-harmed-

 me accusation[s]” that fail to plausibly plead a claim. Iqbal, 556 U.S. at 678. In reaching this

 conclusion, the Court has considered Plaintiff’s allegations against each Defendant.

        Plaintiff’s Amended Complaint mentions Defendant Farley only once. In that instance,

 Plaintiff does not allege any discrimination against Plaintiff and instead describes how Defendant

 Farley “responded to” Elon Musk. (R. 4, PageID#57, ¶ 76). As such, Plaintiff fails to state a

 claim for section 1981 discrimination against Defendant Farley.

        Although Plaintiff’s Amended Complaint mentions Defendant Santana several times, it

 does not plausibly allege that he discriminated against Plaintiff on the basis of her race or

 ethnicity in violation of section 1981. The Amended Complaint makes one bald assertion that

 Santana “subjected Plaintiff to regular and frequent unwarranted criticism and hostility with

 regard to her race” but provides no further information. (Id. at PageID# 49, ¶ 39). This is exactly

 the kind of “naked assertion[] devoid of further factual enhancement” that courts need not credit.

 Iqbal, 556 U.S. at 678–79 (quoting Bell Atl. Corp., 550 U.S. at 557). Plaintiff also alleges that

 Defendant Santana unfairly “disciplined” her and attempted to create a hostile work


                                                     10
Case: 1:22-cv-01848-DAR Doc #: 81 Filed: 09/27/24 11 of 16. PageID #: 663




 environment. (R. 4, PageID# 50, 51, 55, ¶¶ 43–46, 66). Nevertheless, Plaintiff again fails to

 allege that such behavior was in any way related to her race or ethnicity. Id. Thus, Plaintiff does

 not state a claim for section 1981 discrimination against Defendant Santana.

        Plaintiff alleges that Defendant Ralph Johnson “subjected Plaintiff to regular and

 frequent unwarranted criticism and hostility with regard to her race.” (R. 4, PageID# 49, ¶ 39).

 Plaintiff also alleges that Defendant Johnson advised her that she had a target on her back and

 that she believes he was targeting her “based on her race in an effort to ethnic cleanse” their

 work department. (Id. at PageID# 50, ¶ 41). Again, Plaintiff leaves her allegations at these

 “naked assertions devoid of further factual enhancement.” Iqbal, 556 U.S. at 678–79 (quoting

 Bell Atl. Corp. v. Twombly, 550 U.S. 544, 557 (2007)). Plaintiff’s final allegation related to

 Defendant Johnson is that he asked her “what are you doing here?” when Plaintiff returned to

 work in a department from which she had previously been removed. (R. 4, PageID# 54, ¶ 64).

 Thus, Plaintiff does not allege facts showing that Defendant Johnson’s behavior deprived her of

 a legally protected right and that he would not have done so but for her race or ethnicity.

 Therefore, she fails to state a claim for section 1981 discrimination against him.

        Plaintiff’s Amended Complaint mentions Defendant Bridget Johnson only once. (Id. at

 PageID# 53, ¶ 58). Plaintiff alleges that Defendant Bridget Johnson slandered her and sought to

 harm Plaintiff and destroy her reputation because Plaintiff is not black. Id. Again, Plaintiff

 provides no facts to support this conclusory allegation and thus fails to state a claim. See Iqbal,

 556 U.S. at 678–79.

        Plaintiff’s only mention of Defendant Bennet alleges that after reporting racism to

 Defendant Bennet her response was “What do you think everyone is just supposed to like you?”.

 (R. 4, PageID#54, ¶ 61). There are no further facts alleged against this defendant to support a


                                                  11
Case: 1:22-cv-01848-DAR Doc #: 81 Filed: 09/27/24 12 of 16. PageID #: 664




 plausible claim of discrimination based on ethnicity. Similarly, the only mention of Defendant

 Stallard is an assertion that he disciplined her for reporting racism. (Id. at PageID#54, ¶ 60).

 Plaintiff makes no further allegations regarding Defendant Stallard. (See id.) Thus, Plaintiff’s

 conclusory assertion is not sufficient to state a claim. See Iqbal, 556 U.S. at 678–79.

        Plaintiff identifies Defendant Hastings as the company doctor at her workplace, but she

 makes no other mention of him. (R. 4, PageID# 45, ¶ 12). Because Plaintiff alleges no facts

 related to Defendant Hastings, she fails to state any claims against him.

        Plaintiff alleges that Defendant Porterfield formed a plan to harm Plaintiff with

 Defendant Donovan and that Defendant Porterfield is “obsessed with retaliation” against her. (Id.

 at PageID# 65, ¶ 126). Again, Plaintiff does not allege that Defendant Porterfield’s actions were

 related to her race or ethnicity in anyway, and she leaves her allegations at these conclusory

 statements. Thus, she fails to state a claim for discrimination in violation of section 1981 against

 Defendant Porterfield.

        Plaintiff alleges that Defendant Donovan was present at the meeting on March 22, 2021;

 did not believe Plaintiff’s statements in that meeting; stated “we want you to go see the medical

 doctor”; and informed Plaintiff that security was on their way. (Id. at PageID# 56, 58, ¶¶ 71, 72,

 84, 86). Plaintiff also alleges that Defendant Donovan made a “medical decision” about her and

 developed a plan to harm her with Defendant Porterfield. (Id. at PageID# 58, 65 ¶¶ 89, 126).

 There are no further factual allegations against Defendant Donovan. Plaintiff does not allege that

 Defendant Donovan’s actions were in any way related to her race or ethnicity. Thus, she fails to

 state a claim against Defendant Donovan for discrimination in violation of section 1981.

        Plaintiff failed to effectuate service on Defendant Wilson, (R. 41), therefore all claims

 against Defendant Wilson are dismissed, Fed. R. Civ. P. 4(m).


                                                  12
Case: 1:22-cv-01848-DAR Doc #: 81 Filed: 09/27/24 13 of 16. PageID #: 665




        As to all Defendants, Plaintiff fails to state a claim for discrimination in violation of

 section 1981. Therefore, Count III is dismissed.

        2. Count IV Fails to State a Claim

        “The elements of a retaliation claim under § 1981 are the same as those under Title VII.”

 Boxill v. O’Grady, 935 F.3d 510, 520 (6th Cir. 2019). Thus, to state a claim for retaliation in

 violation of section 1981, a plaintiff must allege facts showing that “(1) she engaged in protected

 activity; (2) her exercise of that activity was known by the Defendant; (3) the Defendant

 thereafter took an action that was materially adverse to her; and (4) there was a causal connection

 between the protected activity and the materially adverse action.” Id.

        Here, Plaintiff alleges that she was retaliated against for reporting and opposing

 discrimination, (R. 4, PageID# 78, ¶ 188), by being “demoted from the MP&L department” and

 placed “in the V6 department” and being subjected to escalating discriminatory treatment, (id. at

 PageID# 54, 78, ¶¶ 59, 189). As stated above, the Court liberally construes Plaintiff’s pro se

 Amended Complaint and construes Plaintiff’s allegations of escalated discriminatory treatment

 as referring to the events of March 20, 2021, and her subsequent termination. Id.; see Williams,

 631 F.3d at 383 (supporting the liberal construction of pro se pleadings).

        As to the section 1981 retaliation claims related to Plaintiff’s March 20, 2021,

 hospitalization and her termination, she has not alleged facts showing a causal connection

 between her reports and the alleged adverse actions. A discussion of Plaintiff’s Title VII

 retaliation claim against Defendant Ford pertaining to Plaintiff’s hospitalization and termination

 can be found above under the discussion of Count II. There are no additional facts alleged

 against Defendant Ford or any other Defendant in Count IV. Thus, for the same reasons Plaintiff




                                                  13
Case: 1:22-cv-01848-DAR Doc #: 81 Filed: 09/27/24 14 of 16. PageID #: 666




 fails to state a Title VII retaliation claim against Defendant Ford, she fails to state a section 1981

 retaliation claim against Defendants.

        Plaintiff’s retaliation claim related to being demoted from the MP&L department and

 placed in the V6 department also fails. The referenced department is not mentioned anywhere

 else in Plaintiff’s complaint; however, the Court liberally construes Plaintiff to allege she was

 placed in the V6 department when she was demoted in September 2020. However, Plaintiff does

 not allege facts showing that any “protected activity was a but-for cause of the” demotion. Univ.

 of Tex. Sw. Med. Ctr., 570 U.S. at 363; (R. 4, PageID# 54, 78, ¶¶ 59, 189). She alleges no facts

 connecting her demotion to her reports. (R. 4, PageID# 54, ¶ 59). Thus, the only facts alleged

 that could potentially relate to the requisite causal connection are the temporal proximity

 between her reports and her demotion. Plaintiff made her last report of discrimination in October

 2019, nearly a year before her demotion. (Id. at PageID# 51, ¶ 47). This allegation of temporal

 proximity based on an eleven-month gap between her last report and her demotion alone does

 not suffice to plausibly allege a causal connection. See Kean, 466 F. App’x at 471. Thus, because

 Plaintiff has not alleged facts showing a causal connection between her reports and her

 demotion, she fails to state a claim for retaliation in violation of section 1981. Because Plaintiff

 fails to state both her claims for retaliation in violation of section 1981 against all Defendants,

 Count IV is dismissed.

             C. Count V Alleging Violation of 42 U.S.C. § 1983 against all Defendants

        To state a claim for a violation of section 1983, a plaintiff must allege facts showing that

 a person acting under color of state law deprived her of rights, privileges, or immunities secured

 by the Constitution or laws of the United States. See West v. Atkins, 487 U.S. 42, 48 (1988).

 Plaintiff’s Amended Complaint does not acknowledge the state action requirement under § 1983


                                                  14
Case: 1:22-cv-01848-DAR Doc #: 81 Filed: 09/27/24 15 of 16. PageID #: 667




 and makes no attempt to allege facts showing state action. (See generally R. 4). In fact, Plaintiff

 alleges facts showing that Defendant Ford is a private company and that remaining Defendants,

 who are Defendant Ford’s employees, are private citizens. (Id. at PageID# 79–80, ¶¶ 192–197).

 “Section 1983 does not, as a general rule, prohibit the conduct of private parties acting in their

 individual capacities.” Lindsey v. Detroit Ent., LLC, 484 F.3d 824, 827 (6th Cir. 2007). Thus,

 because Plaintiff does not allege facts showing state action, she fails to state a claim for a

 violation of section 1983. Chesler v. Doe, 532 F. Supp. 1033, 1035 (N.D. Ohio 1982).

 Accordingly, Count V is dismissed.

          D. Count VI Alleging Violation of 22 U.S.C. § 8213 and Remaining Claims

        Plaintiff’s Count VI alleges that Defendant Ford’s activities related to the COVID-19

 pandemic violated “international humanitarian law” pursuant to 22 U.S.C. § 8213. (R. 4,

 PageID# 80–82, ¶¶ 198–202). In her Amended Complaint Plaintiff also generally alleges that

 Defendant Ford violated 18 U.S.C. § 1091, a statute criminalizing genocide, as well as Ohio

 Revised Code §§ 4731.34 and 4731.41, which pertain to the unauthorized practice of medicine

 and practice of medicine without a license, respectively. None of these claims provide a cause of

 action for private litigants. 22 U.S.C. § 8213 gives authority only to the President of the United

 States, and Ohio Revised Code § 4731.34 only defines unauthorized practice of medicine.

 Further, 18 U.S.C. § 1091 and Ohio Revised Code § 4731.41 are criminal statutes, which cannot

 be used by a plaintiff to bring a civil action. Accordingly, Plaintiff has failed to state these

 claims, and they are dismissed.

        E. Additional Pending Motions

        Plaintiff has also filed the following motions: multiple motions to strike, (R. 42; R. 44; R.

 46), a motion to compel “Civil Gideon” appointment, (R. 43), a motion for deposition, (R. 45), a


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Case: 1:22-cv-01848-DAR Doc #: 81 Filed: 09/27/24 16 of 16. PageID #: 668




 motion to compel the Ohio Attorney General’s intervention, (R. 49), motions for discovery, (R.

 51; R. 62), and a motion for leave to file a second amended complaint, (R. 67), without the

 proposed amended complaint or any indication regarding the nature of the proposed amendment.

        Defendants filed a joint motion to stay discovery pending the Court’s ruling on the

 Motions to Dismiss (R. 57), they also filed responses in opposition to nearly every motion filed

 by Plaintiff, including her motion to the amend the complaint (R. 71; R. 72). In response,

 Plaintiff filed a motion to strike Defendants’ opposition. (R. 73). Most recently, Plaintiff filed a

 Motion for reconsideration. (R. 76).

        The Court has reviewed these motions. With respect to Plaintiff’s motions, the Court

 finds no merit to them. Furthermore, because the Court finds that Plaintiff has failed to state any

 plausible claim, grants Defendants’ Motions to Dismiss, (R. 37; R. 38), and dismisses the

 Amended Complaint in its entirety, the Court denies all other pending motions, (R. 42; R. 43; R.

 44; R. 45; R. 46; R. 49; R. 51; R. 57; R. 62; R. 67; R. 73; R. 76), as moot.

                                           IV. Conclusion

        For these reasons, Defendants’ Motions to Dismiss the Amended Complaint, (R. 37; R.

 38), are GRANTED.

        IT IS SO ORDERED.

                                                s/ David A. Ruiz
                                                David A. Ruiz
                                                United States District Judge

 Date: September 27, 2024




                                                  16
